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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                  Plaintiff,                            4:13-CR-3130

vs.
                                                           ORDER
JORGE LUIS ORTIZ-LOPEZ, JUAN
MIGUEL GALLEGOS LOAZA, DANIEL
ARIZA-GARCIA,  YARA     SUJEY
MARTINEZ      GARCIA,     and
DAGOBERTO CASTILLO LUJAN,

                  Defendants.

      This matter is before the Court on the plaintiff’s Motion to Dismiss
Forfeiture Allegation (filing 233). The superseding indictment (filing 69) sought
the forfeiture of a number of properties from the defendants. In support of its
motion to dismiss, the plaintiff represents that these properties have already
been administratively forfeited to the Drug Enforcement Administration, such
that a judicial forfeiture is no longer necessary. See, 21 U.S.C. § 881 and 19
U.S.C. § 1607–1609. The defendants have not opposed the plaintiff's motion, and
the Court finds that the motion should be granted. Accordingly,

      IT IS ORDERED:

      1.    As to the defendants named above, the plaintiff’s Motion to
            Dismiss Forfeiture Allegation (filing 233) is granted.

      2.    As to the defendants named above, the forfeiture allegation in
            the superseding indictment (filing 69) is dismissed.

      Dated this 6th day of May, 2014.

                                           BY THE COURT:



                                           John M. Gerrard
                                           United States District Judge
